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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

      Petitioner,                                 Case No. 3:18-cv-248

vs.

BRENDA S. GEARHEARDT,                             District Judge Thomas M. Rose
                                                  Magistrate Judge Michael J. Newman
      Respondent.
______________________________________________________________________________

     ORDER GRANTING PETITIONER’S MOTION TO DISMISS (DOC. 5) AND
             TERMINATING THIS CASE ON THE COURT’S DOCKET
______________________________________________________________________________

      This is a civil case in which the Government has petitioned the Court to enforce a summons

issued by the Internal Revenue Service (“IRS”) and served upon Respondent. Doc. 1. The

Government moves to dismiss this action because Respondent has now complied with the IRS

summons at issue. Doc. 5. For good cause shown, Petitioner’s motion to dismiss is GRANTED

and this case is TERMINATED on the Court’s docket.

      IT IS SO ORDERED.



Date: September 10, 2018                          *s/Thomas M. Rose
                                                  Thomas M. Rose
                                                  United States District Judge
